Case 1:22-cr-00007-LKG Document 125-1 Filed 10/03/22 Page 1 of 4




            EXHIBIT A
        Case 1:22-cr-00007-LKG Document 125-1 Filed 10/03/22 Page 2 of 4




May 5, 2021

Chairwoman Jessica Rosenworcel
Federal Communications Commission
45 L Street NE
Washington, DC 20554


Dear Chairwoman Rosenworcel and Fellow Commissioners:

This is a formal complaint requesting an investigation into the broadcasting practices and media
content distributed by FCC-licensed station WBFF, a Baltimore City-based Fox News-affiliated
network, specifically the content distributed to the public about the Baltimore City State’s
Attorney’s Office (SAO), a government entity, and its lead prosecutor, State’s Attorney Marilyn
Mosby that upon viewing could reasonably be categorized as blatantly slanted, dishonest,
misleading, racist, and extremely dangerous.

Under the FCC’s rules, “[b]roadcasters may not intentionally distort the news,” and “rigging or
slanting the news is [deemed] a most heinous act against the public interest.” Given that FCC
guidance, an investigation into the persistent and slanted broadcasts of WBFF against our office and
the State’s Attorney would prove that the WBFF administrators are guilty of such “heinous act[s].”

In my capacity at the States Attorney’s Office, I have noted that the news coverage of the WBFF
persistently follows a disconcerting and dangerous pattern: beginning with a slanted, rigged,
misleading, or inflammatory headline; followed by a conspiracy theory; and supported with guest
commentary from disgruntled ex-employees or political opponents that lend false credibility to
their biased coverage or omission of facts. Utilizing this pattern of practice in their broadcasts,
citizens are not only consistently misinformed about the basis and intent of prosecutorial policies,
additionally the merit of criminal convictions are distorted to detract from the public good
championed by prosecutors. Most disturbingly, there appears to be an intentional crusade against
State’s Attorney Mosby, which given today’s politically charged and divisive environment, is
extremely dangerous.

In assessing the news content generated in Baltimore City, I am struck by the frequency of coverage
by the WBFF about the State’s Attorney’s Office and its head SA Marilyn Mosby. In 2020, there were
248 stories by the WBFF solely about SA Mosby. In comparison, other local news networks ran
significantly fewer stories. When assessed over the same period in 2020, Baltimore City stations
did the following: WBAL – 26 stories; WJZ – 46; and WMAR – 10. So far in 2021, the WBFF has run
141 slanted stories.

While the frequency of coverage in question by the WBFF would give any reasonable person pause,
it is the tone of the coverage that violates the FCC rules. The coverage by the WBFF represents acts
that are not merely against the public interest; they also represent acts that are inflammatory
against the safety of an elected official. In the public sphere, Fox News is infamous for its bias
against people of color, and even more against those who could be deemed “progressive” people of
color. Currently, the Fox national news network airs a nightly show with Tucker Carlson, despite
recent calls by civil rights groups to terminate his employment because of Carlson’s frequent
endorsements of white supremacy views. In 2015, the WBFF was forced to apologize for editing a
video to make it falsely appear that Black protesters were chanting “kill a cop!”
        Case 1:22-cr-00007-LKG Document 125-1 Filed 10/03/22 Page 3 of 4




Over the last few years, it’s become clear that the publication of the home addresses of elected and
public officials - particularly when released by a politically charged media or network - creates a
risk to the lives of those public officials and their families. Nonetheless, in 2020, while running one
of its distorted news stories about the State’s Attorney, the WBFF deliberately broadcast the home
address of State’s Attorney Mosby on live TV during one of its news segments. It is hard to see this
as a mistake given the known risk to SA Mosby, her husband, and her children residing in the home.

As if that violation was not enough, the WBFF demonstrated that their heinous acts and deliberately
dangerous activities had no boundaries when, in April 2021, they made a formal inquiry attempting
to find out the schools the SA’s children attended. Since taking office over 6 years ago, the State’s
Attorney has received innumerable personal death threats and hate mail, including letters
describing how her husband would be killed on the steps of her home.

These threats against SA Mosby are facts known by the WBFF—they aired reports of the numerous
death threats made against her. As such, when the WBFF network and its administrators willfully
publicize the State’s Attorney’s home address, and when they take further steps to facilitate the
publication of where her young children attend school, their acts rise beyond mere professional
irresponsibility and become what can only be reasonably deemed malicious, against the public
interest, and a pointed threat to the safety of the State’s Attorney’s life and that of her family.

Below are a few instances of the WBFF’s distorted coverage about the State’s Attorney’s Office and
its leadership

4.15.21 | Rollout of new policies by Marilyn Mosby needed more collaboration, experts say | It’s been
about three weeks since City State’s Attorney Marilyn Mosby doubled down on her plan to
permanently stop prosecuting what she calls “low-level” offenses.

4.1.21 | Marilyn Mosby Claims 93% Felony Conviction Rate – here are the cases she doesn’t count |
Baltimore City State's Attorney Marilyn Mosby says 93% of felony cases ended in convictions in 2020,
but not everyone is convinced.

9.25.20 | Connection to Dark Money Looks to Shape Prosecution of Police | Dark money is shaping
the way Baltimore City addresses crime. The authors of an op-ed that appeared in The Baltimore Sun
this week describe themselves as being former federal prosecutors.

9.17.20 | Baltimore City State’s Attorney Avoids Oversight | Findings from an Operation: Crime &
Justice investigation show City and State watchdog agencies don't audit City State’s Attorney Marilyn
Mosby’s Office.

9.14.20 | Role Top Prosecutor Plays in Baltimore Violence | Since the riots in 2015, Baltimore City
has seen hundreds of lives lost. Sean Kennedy who is a visiting fellow at the Maryland Public Policy
Institute tells Fox45 News, “The State’s Attorney is a crucial player in curbing crime in any
jurisdiction.”

7.21.20 | Money Machine Behind Mosby’s Trip | The money machine behind Marilyn Mosby’s 2019
Europe trip has many moving parts.
        Case 1:22-cr-00007-LKG Document 125-1 Filed 10/03/22 Page 4 of 4



As
you can see from the examples cited, the broadcast and news coverage by the WBFF about the
Baltimore City State’s Attorney Office, and more specifically against the State’s Attorney, are so
slanted that they are not simply a “dog-whistle” to the right-wing, they have become a megaphone
that amplifies, encourages, and provides fodder for racists, throughout the city and beyond, to
continue sending hate mail and death threats. This sort of coverage incites racists to act upon their
animus for the State’s Attorney.

Two years ago, pipe bombs were sent to George Soros and other elected officials after Fox News
spent years broadcasting stories that set Soros up to be a villain. Just last month, Baltimore City-
based Fox 45 was accused of peddling anti-Semitism by Media Matters following yet another biased
news segment that aired on SA Mosby, within which she was accused of being a George Soros
“puppet” that was “bought and paid for” [Note: State’s Attorney Mosby has never received a penny
from George Soros or any of his political groups]

To be clear, the State’s Attorney’s Office is not above receiving criticism. We welcome being held
accountable, and we support First Amendment freedom of speech. However, what we find
troubling, abhorrent, and outright dangerous, is that the distinctly relentless slanted broadcast
news campaign, against the Baltimore City State’s Attorney’s Office and its lead prosecutor, has the
stench of racism.

Before presenting this complaint to the FCC, in my capacity as Director of Communications, I’ve
made several complaints to the Baltimore City WBFF station regarding its frequent, disturbing, and
slanted news coverage. Those efforts this past year, included in-person meetings and phone calls
with producers and news station managers. In fact, I’ve made every effort to request that the WBFF
cease its intentional distortion of the news; but we have yet to see a reversal of their direction.

The truth of the matter is I am deeply concerned that if the WBFF’s coverage is not curtailed and
ceased, then someone is going to get hurt. I implore and encourage you, Madame Chairwoman and
Commissioners, to enlist the full investigative and enforcement powers granted to you by the
Federal government to take action against the WBFF as soon as possible.

Sincerely,

Zy Richardson
Zy Richardson
Communications Director, Baltimore City State’s Attorney’s Office
